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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA

                           Civil Action No. 9:23-cv-80893-AMC


 ANDREW LAWSON, Individually and )
 on behalf of others similarly situated; )
                                         )
       Plaintiff,                        )
                                         )
 v.                                      )
                                         )
 NATIONS HEALTH GROUP, INC., )
                                         )
       Defendant.                        )
 ________________________________

  DEFENDANT’S, NATION’S HEALTH GROUP, INC., MOTION TO DISMISS
  AMENDED COMPLAINT FOR FAILURE TO STATE A CAUSE OF ACTION
          WITH INCORPORATED MEMORANDUM OF LAW

        COMES NOW the Defendant, NATIONS HEALTH GROUP, INC., by and

 through undersigned counsel, pursuant to pursuant to Federal Rules of Civil Procedure

 12(b)(6) and 12(b)(1), and brings this motion to dismiss Plaintiff’s Amended Complaint

 (hereinafter “Complaint”). In support hereof, Defendant states:

        Fed. R. Civ. P. 12(b)(6) provides for dismissal of a complaint for “failure to state

 a claim upon which relief may be granted.” A pleading must contain “a short and plain

 statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

 8(a)(2). Plaintiff’s allegations are insufficient to allege the stated cause of action and are

 inadequately set forth in vague, general, and conclusory terms.

        To prevent dismissal, Plaintiff’s “obligation to provide the grounds of [their]

 entitle[ment] to relief requires more than labels and conclusions, and a formulaic
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 recitation of the elements of a cause of action will not do. Factual allegations must be

 enough to raise a right to relief above the speculative level, on the assumption that all the

 allegations in the complaint are true (even if doubtful in fact).” Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 555 (2007)(internal citations omitted). Unless a Plaintiff has

 “nudged his claim across the line from conceivable to plausible,” the complaint "must be

 dismissed.” Id.

        “[U]nsupported conclusions of law or of mixed fact and law have long been

 recognized not to prevent a Rule 12(b)(6) dismissal.” Dalrymple v. Reno, 334 F.3d 991,

 996 (11th Cir. 2003) (citations omitted). The pleading standard, “demands more than an

 unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009) (internal citations omitted). “The mere possibility the defendant

 acted unlawfully is insufficient to survive a motion to dismiss.” Sinaltrainal v. Coca-

 Cola Co., 578 F.3d 1252, 1261 (11th Cir. 2009), abrogated on other grounds by

 Mohamad v. Palestinian Authority, 566 U.S. 449 (2012). Finally, “[c]onclusory

 allegations, unwarranted deductions of facts or legal conclusions masquerading as facts

 will not prevent dismissal.” Jackson v. BellSouth Telecommunications, 372 F.3d 1250,

 1262 (11th Cir. 2004) (citation omitted); see also Iqbal, 129 S. Ct. at 1949 (“[T]he tenet

 that a court must accept as true all of the allegations contained in a complaint is

 inapplicable to legal conclusions”).

        Plaintiff’s one count Complaint is brought under the Telephone Consumer

 Protection Act ("TCPA"). Plaintiff alleges that he received four calls to his cell phone in

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 2023 (on January 5, 6, 8 and 12, respectively). [Complaint, ¶31-34]. Plaintiff improperly

 alleges, “[W]hile many violations are described below with specificity, this Complaint

 alleges violations of the statutes cited in its entirety.” [Complaint, ¶6, emphasis

 supplied]. Such an allegation is in gross violation of federal pleading requirements. “To

 survive a 12(b)(6) motion to dismiss, the complaint does not need detailed factual

 allegations, . . . but must give the defendant fair notice of what the plaintiff's claim is and

 the grounds upon which it rests.” Randall v. Scott, 610 F.3d 701, 705 (11th Cir. 2010).

 “This necessarily requires that a plaintiff include factual allegations for each essential

 element of his or her claim.” GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244, 1254

 (11th Cir. 2012). Naturally, "[l]egal conclusions without adequate factual support are

 entitled to no assumption of truth." Mamani v. Berzain, 654 F.3d 1148, 1153 (11th Cir.

 2011). The statute at issue (TCPA) contains a multitude of parts, sub-parts and sub-sub-

 parts. Incorporating it “in its entirety,” as Plaintiff purports to do in shotgun fashion,

 necessarily and severely prejudices Defendant’s ability to respond and defend, as well as

 the Court’s ability to decipher the claims which Plaintiff brings. “The unifying

 characteristic of all types of shotgun pleadings is that they fail to one degree or another,

 and in one way or another, to give the defendants adequate notice of the claims against

 them and the grounds upon which each claim rests.” Weiland v. Palm Beach Cnty.

 Sheriffs Office, 792 F.3d 1313, 1323 (11th Cir. 2015). “The point [of Rule 8] is to give

 the defendant fair notice of what the claim is and the grounds upon which it rests.”

 Harrison v. Benchmark Elecs. Huntsville, Inc., 593 F.3d 1206, 1214 (11th Cir. 2010).

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       As but a single, though significant, example of the problem inherent in this

 pleading trap, Plaintiff’s global allegation [at Complaint, ¶6] must necessarily include a

 claim that the subject calls to Plaintiff violated the TCPA because they were made with

 an “automatic telephone dialing system”. 47 U.S.C. § 227(a)(1). [The term “automatic

 telephone dialing system” means equipment which has the capacity—(A)to store or

 produce telephone numbers to be called, using a random or sequential number generator;

 and (B) to dial such numbers. Id.]. However, the complaint provides no statement at all

 as to the type of the dialing system employed by Defendant. This is significant because

 Plaintiff specifically alleges, [at Complaint ¶19] that the TCPA prohibits “automated or

 prerecorded telephone calls,” and [at Complaint ¶20], “the FCC issued an order

 tightening the restrictions for automated telemarketing calls.” Emphasis supplied.

       Such allegations are insufficient to state a cause of action for automated calls

 under the TCPA. The Supreme Court has expressly held that in order for a device to

 constitute an automatic telephone dialing system under the TCPA, it must have “the

 capacity to use a random or sequential number generator to either store or produce phone

 numbers to be called.” Facebook, Inc. v. Duguid, 141 S. Ct. 1163, 1167, 1173 (2021).

 “In sum, Congress’ definition of an autodialer requires that in all cases, whether storing

 or producing numbers to be called, the equipment in question must use a random or

 sequential number generator.” Id. at 1170.

       Plaintiff fails to allege, in any respect, that Defendant’s dialing system meet these

 criteria. Therefore, under Facebook, Inc. v. Duguid, the Complaint fails to state a claim

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 for this TCPA violation and should be dismissed. See also, Jackson v. Bank of Am., N.A.,

 898 F.3d 1348, 1357 (11th Cir. 2018) (“[I]n a case in which a party, plaintiff or

 defendant, files a shotgun pleading, the district court should strike the pleading and

 instruct counsel to replead the case ... This is so even when the other party does not

 move to strike the pleading.”)

        As a further ground for dismissal, Plaintiff does not allege that the telephone

 number to which the alleged offending calls were made was a “residential” number. In

 fact, Plaintiff alleges that “he” is on the no-call list, rather than his number. [Complaint

 ¶29]. This is not a correct expression of the do not call list registration procedure.

        The “do not call” regulations fall under section 64.1200(c) of the TCPA’s

 implementing regulations, which provides that “[n]o person or entity shall initiate any

 telephone solicitation” to “[a] residential telephone subscriber who has registered his or

 her telephone number on the national do-not-call registry of persons who do not wish to

 receive telephone solicitations that is maintained by the federal government.” 47 C.F.R.

 § 64.1200(c). It is the phone number, not the person, which is registered. See also, 47

 C.F.R. § 64.1400(d)(3) (specifying “residential subscriber”).

        Plaintiff generally recognizes this. [Complaint ¶14]. However, Plaintiff makes no

 allegations that he is either a “residential” telephone subscriber, or that his subject

 telephone (or telephone number) meets the “residential” requirement of the Act, which is

 the gravamen of the TCPA. The Supreme Court has observed, “[I]n enacting the TCPA,

 Congress made several findings relevant here. ... In particular, Congress reported,

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 ‘[m]any consumers are outraged over the proliferation of intrusive, nuisance

 [telemarketing] calls to their homes.’ ‘[A]utomated or prerecorded telephone calls’ made

 to private residences, Congress found, were rightly regarded by recipients as ‘an

 invasion of privacy.’” Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 371, 132 S.Ct.

 740, 745 (2012)(internal quotation marks omitted). While the issue of whether a cell

 phone qualifies as a “residential” phone remains debated in the courts, see Chennette v.

 Porch.com, Inc., 50 F.4th 1217, (9th Cir. 2022), dissent, the Complaint’s complete lack

 of allegations to support this “residential” component of the TCPA renders the

 Complaint insufficient to state a cause of action.

        Finally, for Plaintiff to establish standing, it is necessary that the alleged injuries

 be “fairly traceable to the challenged action of the defendant.” Lujan v. Defs. of Wildlife,

 504 U.S. 555, 560-1 (1992). The only allegations regarding the source of the subject

 calls are the curt and conclusory allegations found in paragraphs 31, 32, 33 and 34 of the

 Complaint. Defendant alleges, “[U]pon information and belief this number belongs to

 Defendant and/or Defendant’s agent.” [Complaint, ¶¶31 and 32]. In paragraph 34,

 Plaintiff alleges that he received a call and spoke with an unnamed “agent” of Defendant

 and then to a person named “Scott” (no last name). “Scott” stated he was calling on

 behalf of “Nation’s Health Group, Inc.” [Complaint, ¶34]. Plaintiff’s supposition that

 Defendant was responsible for the calls (based only upon the unknown and insufficiently

 identified “Scott”) is rank speculation and conclusion. There are no allegations tying

 Defendant to the telephone number from which the calls were placed. There are no

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 allegations that the “Nation’s Health Group” referenced by “Scott” is the Defendant. No

 location or website for “Nation’s Health Group” was provided. No call back number was

 provided. The name “Nation’s Health Group” is certainly not unique and can be used by

 others. There are also no allegations supporting any theory of agency (actual or

 apparent). As such, the Complaint fails to state a cause of action against Defendant. In

 Arkin v. Innocutis Holdings, LLC, 188 F.Supp.3d 1304, 1310 (M.D. Fla. 2016), the court

 found that the allegations naming a particular defendant were insufficient to connect that

 defendant to the offending act, stating, “[P]laintiff's conclusory allegations as to Cipher

 are insufficient under the “on-whose-behalf” inquiry. Accordingly, Plaintiff fails to state

 a plausible claim that Cipher is a sender under the TCPA.” Likewise, Plaintiffs’

 allegations here are insufficient to support Defendant’s liability. As the Supreme Court

 has clearly said, “[N]or does a complaint suffice if it tenders ‘naked assertion[s]’ devoid

 of `further factual enhancement.” Twombly, 550 U.S. at 557.

        WHEREFORE, Defendant respectfully requests the Court enter an order

 dismissing the Amended Complaint.



                                                   __/s/ Robert Pasin______________
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                              CERTIFICATE OF SERVICE

       I certify that on September 5, 2023, I electronically filed the foregoing Motion to
 Dismiss the Amended Complaint with the Clerk of Court using the CM/ECF system
 which will send notification of such filing to Plaintiff’s counsel, Kazerouni Law Group,
 APC.


                                                  __/s/ Robert Pasin____________
                                                  LAW OFFICE OF ROBERT PASIN
                                                  Attorney for Nation’s Health Group, Inc.




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